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IN THE GRAND COURT OF THE CAYMAN ISLANDS
FINANCIAL SERVICES DIVISION

 

CAUSE NO: FSD 4 OF 2020 (MRHJ)

BETWEEN:
ROBERT W. SEIDEN, IN HIS CAPACITY AS
TEMPORARY RECEIVER OF LINK MOTION INC.
PLAINTIFF
AND:
LINK MOTION INC.
DEFENDANT

IN CHAMBERS
23 February 2022
BEFORE THE HON. JUSTICE RAMSAY-HALE

ORDER

UPON the application of the Plaintiff, Robert W. Seiden, in his capacity as temporary receiver

(the Receiver) of Link Motion Inc. (the Company) made by summons dated 7 February 2022

AND UPON reading the Fourth Affidavit of Robert W. Seiden sworn 4 February 2022 and its
Exhibit RWS-4, and the Fifth Affidavit of Robert W. Seiden sworn 9 February 2022 and its
Exhibit RWS-5

AND UPON hearing counsel for the Plaintiff

IT IS ORDERED THAT:

1. Further to the Court’s 3 February 2020 order recognizing the appointment, powers,

and functions of the Receiver in the Cayman Islands:

1.1. the Receiver is authorized to call an extraordinary general meeting of the
shareholders of the Company for the purpose of putting the following

resolutions to the shareholders as ordinary resolutions:

This Order was filed by KSG, attorneys for the Plaintiff, whose address for service is 4th Floor Harbour Centre, 42
North Church Street, PO Box 2255, Grand Cayman KY1-1107, Cayman Islands [MR/02477]
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1.1.3.

1.1.4,

Ts1.5:;

1.1.6,

11.2.

that Mr Guo Lilin be appointed as a director of the Company;

that Ming Dai be appointed as a director of the Company;

that Weilin Guo be appointed as a director of the Company;

that Hua Zeng be appointed as a director of the Company;

that Xing Tang be appointed as a director of the Company; and

that Li Wang be appointed as a director of the Company.

1.2. the Receiver is authorized to call an extraordinary general meeting of the

shareholders of the Company for the purpose of putting the following

resolutions to the shareholders:

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as special resolutions:

1.2.1.1. that Dr Shi Wenyong be removed as a director of the

Company;
1.2.1.2. that Jun Zhang be removed as a director of the Company;
1.2.1.3. that Bruson Li be removed as a director of the Company;
1.2.1.4. that Jia Lian be removed as a director of the Company; and
1.2.1.5. that Xiao Yu be removed as a director of the Company.
as ordinary resolutions:
1.2.2.1. that the Company take all steps reasonably necessary to
comply with the Order Granting Preliminary Injunction and

Appointing Temporary Receiver dated 1 February 2019
made by the United States District Court for the Southern

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District of New York in case number 1:18-cv-11642 (the US
Court Order); and

1.2.2.2. that all actions taken by the Receiver, and the Receiver’s
agents, since his appointment under the US Court Order on
behalf of the Company were for the benefit of the Company
and accordingly be and are ratified, sanctioned, adopted,

and approved,

2. The Receiver is directed to call the extraordinary general meetings in the same manner
as nearly as possible as that in which general meetings are to be convened by the
directors of the Company under the Company’s Amended and Restated Articles of

Association.

DATED the 23rd day of February, 2022
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FILED the ds day of February, 2022

 

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THE HON. JUSTICE RAMSAY-HALE
JUDGE OF THE GRAND COURT

This Order was filed by KSG, attorneys for the Plaintiff, whose address for service is 4th Floor Harbour Centre, 42
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